      Case 5:16-cv-00295 Document 1 Filed in TXSD on 10/06/16 Page 1 of 6



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  LAREDO DIVISION

SALA PRIMARY LLC,                                §
     Plaintiff,                                  §
                                                 §
VS.                                              §           Civil Action No. 5:16-cv-00295
                                                 §
UNITED STATES LIABILITY                          §
INSURANCE COMPANY AND                            §
GLENN KNIES,                                     §
     Defendants.                                 §



                                   NOTICE OF REMOVAL


       Defendant United States Liability Insurance Company (“USLIC”) hereby gives notice of

removal of the above-entitled action from the 341st Judicial District Court of Webb County, Texas,

to the United States District Court for the Southern District of Texas, Laredo Division, pursuant to

28 U.S.C. § 1446. In support thereof, USLIC respectfully shows as follows:

                                             I.
                                       INTRODUCTION

       1.      On or about September 7, 2016, Plaintiff Sala Primary LLC (“Sala”) filed the

lawsuit assigned Cause No. 2016CVF002350D3, styled Sala Primary LLC v. United States

Liability Insurance Company and Glenn Knies, and assigned to the 341st Judicial District Court of

Webb County, Texas. A copy of the state court file is attached as Exhibit A. In its suit, Sala seeks

to recover under a commercial insurance policy issued by USLIC for storm damage to its

commercial property allegedly sustained on May 11, 2015. Pl’s Orig. Pet. [Ex. A]. Removal

based on diversity jurisdiction is proper because there is complete diversity of citizenship between

the parties, and the amount in controversy exceeds $75,000.00.
      Case 5:16-cv-00295 Document 1 Filed in TXSD on 10/06/16 Page 2 of 6



                                            II.
                                  TIMELINESS OF REMOVAL

       2.      On or about September 23, 2016, the undersigned counsel for USLIC received a

copy of Plaintiff’s Original Petition from the District Clerk in Webb County, Texas. Counsel was

served with the petition as the attorney for service for USLIC, a non-admitted insurance carrier.

[Ex. A].    Defendant is therefore filing this notice of removal within the 30-day time period as

required by 28 U.S.C. §1446(b). See Bd. of Regents of Univ. of Tex. Sys. v. Nippon Tel. & Tel.

Corp., 478 F.3d 274, 278 (5th Cir. 2007).

                                       III.
                   BASIS FOR REMOVAL – DIVERSITY JURISDICTION

       3.      Removal is proper because there is complete diversity of citizenship between the

parties, and the amount in controversy exceeds $75,000, exclusive of interest and costs. 28

U.S.C. §1332(a).

       A.      Diversity

       4.      This is a case between citizens of different states, and complete diversity among

the parties exists and existed as of the time of filing of this lawsuit and as of the time of filing of

this notice of removal. No defendant in this lawsuit is a citizen of the same state as Sala.

       5.      In its original petition, Sala alleges that it is a resident of Webb County, Texas.

Pl’s Orig. Pet. [Ex. A].

       6.      Defendant USLIC is a foreign insurance company with its principal place of

business in Wayne, Pennsylvania.

       7.      Defendant Knies is an individual residing in Sarasota, Florida.

       8.      Removal is therefore proper under 28 U.S.C. § 1332(a)(1).




                                                  2
      Case 5:16-cv-00295 Document 1 Filed in TXSD on 10/06/16 Page 3 of 6



       B.       Amount in Controversy

       9.       Sala specifically alleges in its petition that it “seeks monetary relief of over

$200,000.00 but not more than $1,000,000.00.” Pl’s Orig. Pet. at para 55. Accordingly, the

amount in controversy exceeds $75,000, excluding interest and costs.          28 U.S.C. §1332.

Removal is therefore proper. Id.

                                       IV.
             COMPLIANCE WITH 28 U.S.C. § 1446(a) AND LOCAL RULE LR81

       10.      Pursuant to 28 U.S.C. § 1446(a) and Local Rule LR81 for the United States

District Court for the Southern District of Texas, the following items are attached to this Notice

of Removal:

                1.     An Index of Matters Being Filed;

                2.     Exhibit A – Copies of Items in the Webb County District Clerk’s file,
                       including:

                       a.     Docket Sheet;

                       b.     Civil Case Information Sheet;

                       c.     Plaintiff’s Original Petition;

                       d.     Civil Case – Calendar Call Settings;

                       e.     Citation by Certified Mail and Return as to Glenn Knies; and

                       f.     Citation by Certified Mail and Return as to United States Liability

                              Insurance Company.

                3.     Exhibit B - List of all counsel of record, including addresses, telephone
                       numbers and parties represented.




                                                 3
       Case 5:16-cv-00295 Document 1 Filed in TXSD on 10/06/16 Page 4 of 6



                                                V.
                                              VENUE

        11.    Venue is proper in this district pursuant to 28 U.S.C. § 1441(a) because the state

court in which this action has been pending is located in this district.

                                              VI.
                                         JURY DEMAND

        12.    The records for the Webb County District Clerk indicate that Sala has paid a jury

fee although a formal jury demand was not filed.

                                          VII.
                                 CONCLUSION AND PRAYER

All of the prerequisites for removal are satisfied, and removal is proper pursuant to 28 U.S.C. §§

1332(a) and 1446. Defendant United States Liability Insurance Company respectfully requests

that this Court remove this lawsuit to the United States District Court for the Southern District of

Texas, Laredo Division and for any other and further relief to which Defendant may be justly

entitled.




                                                   4
Case 5:16-cv-00295 Document 1 Filed in TXSD on 10/06/16 Page 5 of 6



                              Respectfully submitted,

                              BY: /s/ Lisa G. Mann
                                  LISA G. MANN
                                      Attorney-in-Charge
                                      State Bar No. 12929200
                                      S.D. Tex. Bar No. 6735

                                     DEBRA BRADBERRY
                                      Of Counsel
                                      State Bar No. 24048362
                                      S.D. Tex. No. 587156

                                     BINGHAM, MANN & HOUSE
                                       4500 Yoakum Blvd.
                                       Houston, TX 77002
                                       Telephone: (713) 357-9873
                                       Facsimile: (713) 559-3050
                                       lmann@bmh-law.com
                                       dbradberry@bmh-law.com

                              ATTORNEYS FOR DEFENDANT
                              UNITED STATES LIABILITY INSURANCE
                              COMPANY




                                 5
      Case 5:16-cv-00295 Document 1 Filed in TXSD on 10/06/16 Page 6 of 6



                                CERTIFICATE OF SERVICE

I hereby certify service of the foregoing on all counsel of record on October 6, 2016, as follows:

       By Federal Express & Certified Mail, Return Receipt Requested
       Larry W. Lawrence, Jr.
       Michael Lawrence
       LAWRENCE LAW FIRM
       3112 Windsor Road, Suite A234
       Austin, Texas 78703

       Lory Sopchak
       Cartwright Law Firm, LLP
       1300 Post Oak Blvd, Suite 760
       Houston, Texas 77056

       Attorneys for Plaintiff Sala Primary LLC

                                             /s/ Debra Bradberry
                                             DEBRA BRADBERRY




                                                 6
